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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:07-cr-260
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
LARRY OWENS,                        )
                                    )
                  Defendant.        )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 13, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Larry Owens entered a plea of guilty to count 1 of the Superseding Information

charging him with conspiracy to distribute 100 kilograms or more of a mixture or substance

containing marijuana, in violation of 21 U.S.C. §§ 846, 841(a), in exchange for the undertakings

made by the government in the written plea agreement. On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.
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                  I therefore recommend that defendant's plea of guilty to count 1 of the Superseding

Information be accepted, that the court adjudicate defendant guilty of the charge, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: March 13, 2008                           /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR .R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).
